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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
v.
DAVID WARREN, et al.,

Defendants.

* * * *

* CRIM. NO. JKB-22-0439

AMENDED SCHEDULING ORDER

Pursuant to a scheduling call held on June 13, 2024, the Court now sets the following

revised dates and deadlines for further proceedings in this case:

June 24-25, 2024

August 26, 2024
August 26, 2024

August 29, 2024

August 30, 2024

Motions Hearing, Courtroom 5A. The Hearing will
begin at 10:00 a.m. on both days; the Court anticipates
sitting for two full days.

Deadline for filing motions in limine.

Deadline for receipt in chambers of proposed voir dire,
proposed preliminary jury instructions (start of trial),
proposed final jury instructions (end of trial), and a
proposed jury verdict form; these are to be filed
electronically and must also be submitted via e-mail in
Microsoft Word format to chambers:
MDD_JKBChambers@mdd.uscourts.gov.

Government and Defense Counsel shall meet and
confer with respect to proposed voir dire, jury
instructions, and verdict form and, to the fullest extent
possible, make joint submissions. Counsel shall
identify any matters of disagreement through
supplemental filings. The most recent revision of the
undersigned’s standard jury instructions in criminal
cases is available to the Parties upon request to
chambers.

Deadline for responses to motions in limine.

Jencks disclosure deadline.
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September 3, 2024, 10:00 a.m. _ Pretrial Conference, Courtroom 5A. Defendants and
all trial counsel must be present.

September 23, 2024, 9:30 a.m. Begin Jury Trial, Courtroom 5A. Trial scheduled to
conclude on October 31, 2024. In observance of a
religious holiday, the Court will not sit on October 3 or
4, 2024. The Court does not intend to sit on Fridays.

Counsel shall appear in court at 9:15 a.m. on the first
day of trial to address miscellaneous matters with the
courtroom deputy clerk prior to the commencement of
jury selection.

The Government is directed to prepare notices and “come up” letters as appropriate for the
in-court proceedings. The Government is also directed to file motions to exclude time pursuant to
the Speedy Trial Act as appropriate. No changes in the schedule set forth above will be permitted
unless authorized by the Court for good cause shown. Any such requests, either stipulated or ex

parte, must be made by motion and filed with the Clerk.
DATED this _/ 3 day of June, 2024.

BY THE COURT:

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James K. Bredar
United States District Judge

